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                                     UNITED STATES DISTRICT COURT
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                                    CENTRAL DISTRICT OF CALIFORNIA
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   10   DANIEL KITT, an individual,                           Case No.: 5:21-cv-01634 JFW (SHKx)
   11                  Plaintiff,                             ORDER TO FILE FIRST AMENDED
   12          vs.                                            COMPLAINT AND REMAND MATTER
                                                              TO RIVERSIDE COUNTY SUPERIOR
   13
        FCA US LLC,                                           COURT
   14
                       Defendants.
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   16                                                 ORDER
   17          HAVING CONSIDERED THE PARTIES’ JOINT STIPULATION TO FILE FIRST
   18   AMENDED COMPLAINT AND REMAND MATTER TO RIVERSIDE COUNTY
   19   SUPERIOR COURT, the Court finds good cause therefor and hereby ORDERS:
   20          Plaintiff DANIEL KITT is granted leave to file his First Amended Complaint, attached
   21
        as “Exhibit 1” to the Parties’ Joint Stipulation.
   22
               Upon the filing of Plaintiff’s First Amended Complaint, this entire case is remanded to
   23
        the Superior Court of the State of California for the County of Riverside.
   24
               IT IS SO ORDERED.
   25

   26                                                       _______________________________________
        DATED: November 23, 2021
   27                                                       HONORABLE JOHN F. WALTER
                                                            UNITED STATES DISTRICT COURT JUDGE
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                                                PROOF OF SERVICE
